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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


  In re: PARAQUAT PRODUCTS                        Case No. 3:21-md-3004-NJR
  LIABILITY LITIGATION
                                                  MDL No. 3004
  This Document Relates to All Cases



             CASE MANAGEMENT ORDER NO. 15
 RESETTING DISPOSITIVE MOTION DEADLINES AND TRIAL DATE

 ROSENSTENGEL, Chief Judge:

        Upon review of the status of discovery in this MDL, and in consultation with

 Special Master Randi S. Ellis, the Court hereby sets deadlines for dispositive motions,

 including summary judgment and Daubert motions, and RESETS the trial date for the

 first trial selection case as follows:

        x       The Parties shall file any summary judgment and Daubert motions on or

 before March 8, 2023.

        x       Responses to summary judgment and Daubert motions shall be filed on or

 before April 7, 2023.

        x       Replies regarding summary judgment and Daubert motions shall be filed

 on or before April 21, 2023.

        x       A hearing on summary judgment and Daubert motions will be held May 11,

 2023, at 9 a.m., in the East St. Louis Courthouse.

        x       The previously set trial dates in November 2022, March 2023, and June 2023

 are CANCELED.

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        x       Jury trial in the first trial selection case will begin on July 24, 2023.

        A final pretrial conference, as well as other pretrial deadlines related to motions in

 limine, deposition designations, witness and exhibit lists, and jury instructions, will be set

 by separate order once the first trial case is selected. The Court will develop a protocol

 for selection of the first trial case at a later time.

        All other discovery deadlines previously set by the Third Order Amending

 Discovery Schedule (Doc. 1739), as well as the September 2023 trial date set by Case

 Management Order No. 12 (Doc. 587), remain in effect.


        IT IS SO ORDERED.

        DATED: August 17, 2022

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                                                          NANCY J. ROSENSTENGEL
                                                          Chief U.S. District Judge




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